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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DISTRICT

AUNHK RA AUNHKHOTEP,                              )
                                                  )
           Plaintiff,                             )
                                                  )
      v.                                          )          No. 4:24-cv-01551-HEA
                                                  )
CAPTAIN BATRICE THOMAS, et al.,                   )
                                                  )
           Defendants.                            )

                                             ORDER

       On March 25, 2025, counsel with the office of the St. Louis City Counselor’s Office

advised that service would not be waived for defendants Bruce Borders or Lorenzo Chapman

because the City was unable to contact them. 1 Pursuant to the Memorandum of Understanding

dated December 20, 2018, between the City Counselor’s Office and the Court, the City Counselor

will not provide defendants’ last known addresses as a matter of course, but only by Court order.

Therefore, the Court will order counsel to submit, under seal and ex parte, the last known addresses

for defendants Bruce Borders and Lorenzo Chapman.

       Accordingly,

       IT IS HEREBY ORDERED that counsel shall file, under seal and ex parte, the last known

home addresses for defendants Bruce Borders and Lorenzo Chapman within twenty-one (21) days

of the date of this Order.




1
 Both defendants were incorrectly identified in plaintiff’s complaint. The Court will order the
Clerk of Court to correct the docket sheet to reflect the correct names of these defendants: Bruce
Borders and Lorenzo Chapman.
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       IT IS FURTHER ORDERED that the Clerk of Court shall modify the docket sheet to

reflect the correct names of defendants Bruce Borders and Lorenzo Chapman.

       Dated this 26th day of March, 2025.



                                                      HENRY EDWARD AUTREY
                                                   UNITED STATES DISTRICT JUDGE




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